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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA

          v.                                           Criminal No. 24-cr-10189-AK

 (1) MANPREET KOHLI,
    a/k/a “Mkay Saitama” or “mannythehitman”,          UNDER SEAL

 (2) NAM TRAN,
    a/k/a “Ntran1234”, and

 (3) HAROON MOHSINI, and
    a/k/a “AaronSaitama” or “Elonmansur”,

           Defendants


    GOVERNMENT REQUEST FOR PERMISSION TO PROVIDE MATERIALS TO U.S.
        GOVERNMENT PERSONNEL AND FOREIGN LAW ENFORCEMENT

          The United States Attorney hereby respectfully moves the Court to allow counsel for the

government to provide a copy of the charging documents and arrest warrants in the above-

captioned case to others within the United States government as well as foreign officials for the

limited purposes of enabling us to locate and apprehend the defendant and bring him to the United

States and in furtherance of the existing investigation. As grounds for this request, one or more

defendants are located in a foreign country and these materials must be shared to facilitate their

arrest.

          The government respectfully requests that the docket in this case otherwise remain sealed

because public disclosure of these materials might jeopardize the ongoing investigation and the

anticipated arrest.
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                                          Respectfully submitted,

                                          JOSHUA S. LEVY
                                          Acting United States Attorney

                                      By: /s/ Christopher J. Markham          s
                                         CHRISTOPHER J. MARKHAM
                                         DAVID M. HOLCOMB
                                         Assistant U.S. Attorneys
Dated: 10/03/2024




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